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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

SHELLY & SANDS, INC., et al.                        CASE NO. 2:22-CV-04144

                                    Plaintiffs,     JUDGE MICHAEL H. WATSON

vs.                                                 MAGISTRATE JUDGE KIMBERLY A.
                                                    JOLSON
RICK DEMENT, et al.,
                                                    STIPULATION FOR EXTENSION OF
                                  Defendants.       TIME



       Pursuant to Local Rule 6.1 the parties, by their respective counsel, hereby stipulate and

agree to extend the time for Defendants Rick Dement, Rayland Marina LLC and Ohio River

Marine LLC (“Defendants”) to answer or otherwise plead to the Complaint in this matter for

twenty-one (21) days, or until Wednesday, January 11, 2022. No prior stipulated extensions of

time have been given to these Defendants and, together with this extension, the total time of

extension(s) to these Defendants does not exceed twenty-one (21) days.

                                                   Respectfully submitted,

/s/ John M. Kuhl (via email approval)              /s/ Gregory H. Melick
Joseph R. Miller (0068463), Trial Attorney         Gregory H. Melick (0065694)
John M. Kuhl (0080966)                             ROETZEL & ANDRESS, LPA
Emily J. Taft (0098037)                            41 South High Street
VORYS, SATER, SEYMOUR AND                          Huntington Center, 21st Floor
PEASE LLP                                          Columbus, OH 43215
52 East Gay Street, P.O. Box 1008                  Tel. 614.463.9770
Columbus, OH 43216                                 Fax. 614.463.9792
Tel. 614.464.6233                                  gmelick@ralaw.com
Fax. 614.719.4630                                  Attorney for Rick Dement, Rayland Marina
jrmiller@vorys.com                                 LLC and Ohio River Marine LLC
jmkuhl@vorys.com
ejtaft@vorys.com
Counsel for Plaintiffs, Shelly & Sands, Inc.
and S & S Terminal, Inc.
